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AO 91(Rev.08/09) Cri
                   minalComplaint

                                U NITED STATES D ISTRICT C OURT
                                                       forthe
                                            Southern DistrictofFlorida

               United StatesofAmerica                    )
                                                         )
              DUSTIN ALLEN HUGHES,
                                                         )
                                                         ) casexo.1
                                                                  :.-
                                                                    1bzsu -gv;
                                                         )
                                                         )
                       Defendantts)

                                             CRIM INAL COM PLAINT

        1,thecomplainantinthisc% e,statethatthefollowing istrueto thebestofmy know ledgeand belief.
Onoraboutthedatets)of                  May5,2018              inthecountyof                Broward         inthe
   Southern    Districtof              Flori
                                           da         ,thedefendantts)violated:
        CodeSection                                              OffenseDescri
                                                                             ption
18U.S.C.â844(e)                         BombThreat




        Thiscrim inalcomplaintisbased on thesefacts:
        SEE ATTA CHED A FFIDAVIT.




        W Continuedontheattachedsheet.
                                                                                                  j
                                                                               Complainant'
                                                                                          ssignature

                                                                         Andrew Mercurio,Speci
                                                                                             alAnentFBI
                                                                                  Printed nameand title

Sworntobeforemeand signed in my presence.


Date:          05/15/2018
                                                                                    Judge'
                                                                                         ssignature

City andstate:                Ft.Lauderdale,Florida                      Alici
                                                                             a Valle,U.S.MagistrateJudge
                                                                                  Printednameand title
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                 A FFID A W T IN SU PPO R T O F CR IM IN AL C O M PLM NT

        1,A ndrew C.M ercurio,being duly sw orn,depose and state as follow s:

                        IN TRO DU C TIO N A N D AG EN T BA C K G R O U ND

        1.     lam aSpecialAgentoftheFederalBureau oflnvestigation (FBI)andhavebeen
 so employed since 2016.lhavereceived intensive training atthe FBIAcademy in Quantico,
 V irginia,focused on both crim inaland nationalsecurity investigations. Iam currently assigned to

 the M iam i-Dade County Public Corruption Task Force in the M iam i Division, w here I have

 participated in investigations involving the cornzption of elected oftk ials and 1aw enforcem ent

 ofticers, civil rights investigations under the color of law ,hate crim es and other violations of

 Federallaw . Iam a Law Enforcem entOfficeroftheU nited States,and lam em powered to conduct

 investigations, execute w arrants, and m ake arrests for offenses against the United States

 enum erated in,butnotlim ited to,Title 18 ofthe U nited StatesCode.

               Thisaftidavitissubm itted in supportofa crim inalcom plaintcharging thaton M ay

 5,2018,D USTIN A LLEN H U G H ES w illfully m ade a threat concerning an alleged attem ptto

 kill,injure,orintimidateanyindividualorunlawfullydamageordestroyanybuildingorotherreal
 orpersonalproperty by m eansoffire oran explosivethrough the use ofan instrum entofinterstate

 commerce,speciticallyatelephone,inviolationofTitle18,UnitedStatesCode,Section844(e).
               1base the factsin thisaffidavitupon m y personalknow ledge,aswellasknowledge,

 inform ation,and docum entation that1obtained from other law enforcem entofticers w hile in m y

 officialcapacity. Because this affidavitisbeing subm itted forthe lim ited purpose ofestablishing

 probable cause to arrest H U G H ES, it does not contain a11 of the inform ation know n to m e

 concem ing this investigation;itcontainsonly those facts Ibelieve necessary to establish probable

 cause forthe arrest.
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                                      PRO BA BL E CA U SE

                JamaetU1M uttaqueen M osque(hereinafterçftheM osque'')isaM osquelocatedin
 Pem broke Pines,Flodda. A tthe tim esrelevantto thiscase,the greeting on the M osque's voice

 m ailprovided a second phone num ber as an alternate em ergency contactnum ber. On Saturday,

 M ay 5,2018,atapproxim ately 4:06 pm ,a m ale individuallefta threatening m essage on the voice

 m ailforthe M osque's altem ate em ergency contactnum ber. A lthough the caller did notidentify

 him self,the receiving phone identified thenum berfrom w hich the calloriginated as 786-803-0865

 (hereinaAerççtargetnumber').Thevoicemessagestatedthefollowing:
        ççYou fucking M uslim piece ofshit. 1planted a bom b in yourtem ple,I'm gonnablow your

        fucking tem pleup you fucking M uslim pieceofshit.W here you guyshave yoursanctuary

        and w orship A llah,1'm gonna blow thatm other fuckerup. lhave a detonator,l'm gonna

        cause thatm other fucker to go off,you guys are allgonna be up in flam es after l'm done

        w ith you! Y ou guys w anna com e here and cause m ayhem to A m erica,w ell I'm gonna

        cause m ayhem to yourreligion cause yourreligion isnothing butlies. Lies,lies,liesfrom

        the devil! W here's A llah now ?''

        2.     Upon receiptofthe threating voice m essage,an officialoftheM ösque im m ediately

 contacted Pembroke Pines Police Department(PPPD),which subsequently responded to the
 M osque and conducted an exteriorand interior sweep for explosives. N o presence ofexplosives

 were tm covered by PPPD atorin vicinity ofthe M osque. Through review ofa law enforcem ent

 database,PPPD determ ined thatthetargetnum berlikely belongsto DU STIN AI,L EN H U G H E S.

               A review of the M osque's voice m ail revealed that three additional anonym ous

 threatening voice m essages w ere left on the voice m ail w ithin approxim ately one w eek of the

 above-referenced voice m ailm essage ofM ay 5,2018. The m essages lefton the M osque's voice
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 m ailoriginated from the targetphone utilized to leave the above-referenced voice m ailm essage

 of M ay 5,2018. From listening to the tlu'
                                          ee m essages lefton the M osque's voice m ail and the

 above-referenced voice m ailm essage ofM ay 5,2018,1believe thatthe sam e person leA a1lfour

 m essages. The caller on allfourm essagesw asm ale,and the voice,the cadence,and the content

 appears sim ilar across a1lfour m essages. Regarding the content,the three m essages lefton the

 M osque'svoice m ailstated as follow s:

               a. Voice M essage 1:til'm golm a blow up yourfucking tem ple because you guys

                   areabunchoffuckinglying,murdering,piecesofhypocriteshitthatjustwanna
                   cause m ayhem to Am ericansyou fucking piecesofshit. lhave a fucking bom b

                   strapped in there rightnow m otherfuckers,w hatthe fuck are you gonna do you

                   tow elhead fucks?''

                   V oiceM essage 2:6çY eah this ism e again,1have the fucking bom b detonator in

                   there rightnow and I'm gonna setitoffpretty fucking soon because Iam so fed

                   up w ith you M uslim scom ing here causing m ayhem to A m ericansso Iam gonna

                   give you a taste of w hat you give to us. l'm going to cause you guys to be

                   scream ing A llah!A llah!A llah!A llah!exceptA llah w on'tsave yourtow elhead

                   ass bitch.''

                   V oice M essage 3:ttListen you fucking M uslim piece ofshitI'm gonna blow up

                   yotlr fucking tem ple lhave a bom b planted in itright now . Y ou guys are all

                   gonna to go up in flam es for being a bunch of lying pieces of shitfor causing

                   m ayhem to A m erica. l'm gonna getrevenge on a11you pieces ofshit.''

        4.     A snoted above,these tlzree m essages on the M osque's voice m ailoriginated from

 thephonethatIhave described asthe targetphone - thatis,the phone used to leave thevoice m ail
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 m essage ofM ay 5,2018,on the M osque's alternate em ergency contactnum ber. In addition, the

 M osque's telephone w as equipped w ith a digitaldisplay and caller ID function,w hich listed the

 caller leaving the voice m ailm essages as ttD U ST IN H U G H ES.'' A law enforcem ent database

 check conducted by the FBIalso associated the targetnum berw ith H U G H ES.

                The M osque's leadership advised law enforcem ent thatthese threats m ade them

 scared and nervous. The leadership further advised that,as a result of the threats,the M osque

 intended to increase security in preparation for the religious event of R am adan,for w hich the

 leadership was anticipating a significant increase in attendees over the course of the upcom ing

 m onth.

        6.      On M ay 15,2018,at approxim ately noon tim e,agents arrested H U G H ES at his

 residence in M iam i-D ade County. W hile at the residence,agents read H U G H E S his M iranda

 rights and presented H U G H ES w ith a w ritten M iranda w aiver form . A Aerbeing presented w ith

 the form ,H U G H E S read the form and w aived hisM iranda rights in w riting.

                A Rer placing H U G H E S under arrest, agents transported him to the FB1's field

 office in M iram ar,Florida,for booking and questioning. Follow ing his arrivalat the FB1 tield

 oftk e,H UG H ES w astaken to an interview room .A gentsrepresented thew ritlen M iranda waiver

 fonn to H UG H ES. ln response, H U G H E S reconfirm ed his earlier acknow ledgm ent of his

 M iranda rights and hisw aiver ofthose rights.

        8.      Agents played for H U G H ES the above-referenced voice m ail of M ay 5,2018.

 H U G H E S initially denied placing the call. How ever,H U G H E S eventually adm itted placing that

 calland others to the M osque thatalso w ere threatening in nature. W hen advised,in substance,

 thatthe calls caused the m em bers ofthe M osque to becom e scared,H U G H ES clapped and said
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 somethingtotheeffectofGGgood,''orsomeothersimilarwordts)ofapproval.Duringtheinterview,
 H UG H ES stated,in substance,thathe w anted to scare m em bers ofthe M osque and upsetthem .

                                         CO N CLU SIO N

        1.        Based on my training and experience,and asfurthersupported by the factsin this

 affidavit,l respectfully submit thatthere is probable cause to believe that on M ay 5,2018,

 DU STIN A LLEN H U G H ES did willfully m ake a threat concem ing an alleged attem pt to kill,

 injure,orintimidateany individualorunlawfullydamageordestroyanybuildingorotherrealor
 personalproperty by m eans oftire oran explosive through the use ofan instrum ent ofinterstate

 commerce,specitk ally atelephone,inviolationofTitle18,UnitedStatesCode,Section 844(e).
        FU R TH ER Y O U R A FFIA N T SA Y ETH N A U        T.

                                              '



                                              t                    kk
                                             SPECIA L A G EN T AN DR EW C .M ERCURIO
                                             FED ERA L BUR EAU O F IN VESTIGA TION

 Subscribed and sw om before m e
 this         y of M ay 2018.


                    k
              *             R
 H ON O RABLE ALICIA 0 .V A LLE
 U N ITED STA TES M A G ISTM TE JUD G E
